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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
        v.                                     )       CAUSE NO.: 1:11-CR-26-TLS
                                               )
 AUGUSTINE L. LUNA                             )

                                     OPINION AND ORDER

        The Defendant, Augustine L. Luna, submitted a Letter [ECF No. 454] on November 2,

 2015. He wrote, “I’m writing in regards to the recent changes in the Federal laws, hoping to

 know if I am eligible or not. From what I read, I’ll need to file a motion to the court to know if

 I’m eligible.”

        Courts have limited authority to modify a term of imprisonment once it is imposed. See

 18 U.S.C. § 3582(c); United States v. Stevenson, 749 F.3d 667, 669 (7th Cir. 2014) (“A term of

 imprisonment is a final judgment that can only be modified in limited circumstances.”). Title 18

 U.S.C. § 3582(c)(2) permits a defendant to move for a sentence reduction if he was sentenced to

 a term of imprisonment “based on” a Guidelines sentencing range that has subsequently been

 lowered by retroactive amendment. The Court may also act “on its own motion.” 18 U.S.C. §

 3582(c)(2). Here, the change in law that the Defendant is referencing is a retroactive change to

 the drug quantity table brought about by Amendment 782. While there is no question that the

 Commission lowered the sentencing range for many drug offenses, the Defendant is not eligible

 for that sentence reduction because his original sentence was not “based on” the Sentencing

 Guidelines.

        The Defendant pleaded guilty to knowingly conspiring to distribute and to possess with

 intent to distribute cocaine. In doing so, the Defendant entered into a written Plea Agreement
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 with the Government, which contains the following term:

        The United States and I agree that I should receive a sentence of 120 months on
        Count 1. The above-mentioned agreement that I should receive a sentence of 120
        months on Count 1 is a binding agreement pursuant to Rule 11(c)(1)(C). In
        consideration for this agreement, I agree that I will not seek any further reduction
        in my sentence under 18 U.S.C. § 3582(c) for any future amendments to §2D1.1
        of the U. S. Sentencing Guidelines.

 (Plea Agreement ¶ 8(c), ECF No. 253.) On September 8, 2014, the Court accepted the Plea

 Agreement and sentenced the Defendant to 120 months of imprisonment in accordance with the

 binding Plea Agreement.

        The Defendant’s sentence was, thus, based on an agreed term of imprisonment pursuant

 to Federal Rule of Criminal Procedure 11(c)(1)(C). This subsection of Rule 11 permits parties to

 “agree that a specific sentence or sentencing range is the appropriate disposition of the case.”

 Fed. R. Crim. P. 11(c)(1)(C). Generally, a sentence imposed pursuant to a binding plea

 agreement under Rule 11(c)(1)(C) is based on that agreement, not on the Guideline range, so that

 no relief is available under § 3582(c)(2). Freeman v. United States, 131 S. Ct. 2685, 2696 (2011)

 (Sotomayor, J., concurring) (“The term of imprisonment imposed by the sentencing judge is

 dictated by the terms of the agreement entered into by the parties, not the judge’s Guidelines

 calculation.”); United States v. Dixon, 687 F.3d 356, 359 (7th Cir. 2012) (applying Marks v.

 United States, 430 U.S. 188, 193 (1977), to conclude that Justice Sotomayor’s concurrence is

 controlling). Although two limited exceptions apply for when the parties “agree that a specific . .

 . sentencing range is the appropriate disposition of the case” id. at 2697 (quoting Fed. R. Civ. P.

 11(c)(1)(C)), or when the plea agreement itself “make[s] clear that the basis for the specified

 term” is the applicable Guideline range id. at 2697 (stating that the “sentencing range [must be]

 evident from the agreement itself”), neither exception applies in this case.

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        Moreover, the Defendant specifically agreed that in consideration of the agreed term, he

 would “not seek any further reduction” in his “sentence under 18 U.S.C. § 3582(c)(2) for any

 future amendments to § 2D1.1 of the U.S. Sentencing Guidelines.” (Plea Agreement ¶ 8(c)). Plea

 agreements are interpreted in accordance with ordinary principles of contract law. United States

 v. Monroe, 580 F.3d 552, 556 (7th Cir. 2009). “Therefore, when a plea agreement is

 unambiguous on its face, this court generally interprets the agreement according to its plain

 meaning.” Id. Under the terms of the Plea Agreement, the Defendant clearly and unambiguously

 waived his right to seek modification of his sentence under 18 U.S.C. § 3582(c)(2). The

 Defendant does not suggest that he entered into the Plea Agreement with the Government

 unknowingly or involuntarily. Cf. United States v. Blinn, 490 F.3d 586, 588 (7th Cir. 2007) (“We

 will enforce a plea agreement’s appellate waiver if its terms are clear and unambiguous and the

 record shows that the defendant knowingly and voluntarily entered into the agreement.”).

        The Defendant’s Plea Agreement prohibits him from seeking a reduction of his sentence

 under 18 U.S.C. § 3582(c). The Court declines to act on its own motion for the reason that his

 sentence was not based on the Guidelines, but on an agreed 120-month term of imprisonment.



                                          CONCLUSION

        The Court has considered the Defendant’s Letter [ECF No. 454] in light of the record in

 this cause and, for the reasons stated above, find that the Defendant is not eligible for a reduction

 in his sentence pursuant to 18 U.S.C. § 3582(c)(2), and thus DECLINES to act on its own

 motion.

        SO ORDERED on November 5, 2015.

                                                       s/ Theresa L. Springmann
                                                       THERESA L. SPRINGMANN
                                                       UNITED STATES DISTRICT COURT

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